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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

              Plaintiff,                                  HONORABLE PAUL L. MALONEY

 v.                                                       Case No. 1:08-cr-274-05
                                                                   1:10-cr-69-01
 CHARLES JACKSON, SR.,

            Defendant.
 _________________________________/


               ORDER GRANTING MOTION TO ADJOURN SENTENCING


              This matter is before the Court on the government’s Unopposed Motion to Adjourn

Sentencing (Dkt. #323). The Court being fully advised in the premises:

              IT IS HEREBY ORDERED that the Motion to Adjourn Sentencing (Dkt. #323) is

GRANTED. The sentencing hearing shall be rescheduled to a date to be determined.



Date: August 27, 2010                                      /s/ Paul L. Maloney
                                                          Paul L. Maloney
                                                          Chief United States District Judge
